      Case 2:22-cv-00272-TOR   ECF No. 14   filed 02/16/23   PageID.469 Page 1 of 4




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 5
 6
 7
                   IN THE UNITED STATES DISTRICT COURT
 8               FOR THE EASTERN DISTRICT OF WASHINGTON
                               AT SPOKANE
 9
   UNITED FOOD AND COMMERCIAL
10 WORKERS UNION, LOCAL 3000, a
   non-profit corporation, UNITED FOOD          No. 2:22-cv-00272-TOR
11 AND COMMERCIAL WORKERS
   UNION, LOCAL 1439, a non-profit              STIPULATED MOTION TO
12 corporation, UNITED FOOD AND                 EXPEDITE HEARING
   COMMERCIAL WORKERS UNION,                    DATE ON STIPULATED
13 LOCAL 21, a non-profit corporation,          MOTION TO EXTEND
   AND FAYE IRENE GUENTHER,                     BRIEFING SCHEDULE
14 an individual,                               FOR DEFENDANTS’ RULE
                                                12(b)(6) MOTION TO
15                      Plaintiffs,             DISMISS COMPLAINT
16        v.                                    2/23/2023
                                                WITHOUT ORAL
17 JOSEPH H. EMMONS, individually,              ARGUMENT
   AND OSPREY FIELD CONSULTING
18 LLC, a limited liability company,
19                      Defendants.
20
21
22

23 STIPULATED MOTION TO EXPEDITE HEARING DATE
     ON STIPULATED MOTION TO EXTEND BRIEFING
                                                                   Davis Wright Tremaine LLP
     SCHEDULE FOR MOTION TO DISMISS                                         L AW O FFICE S
     Case No. 2:22-cv-00272-TOR                                       920 Fifth Avenue, Suite 3300
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     Case 2:22-cv-00272-TOR      ECF No. 14    filed 02/16/23   PageID.470 Page 2 of 4




 1         The parties jointly request the Court enter an order setting an expedited

 2   hearing date of February 23, 2023, on the parties’ concurrently filed Stipulated
 3
     Motion to Extend Briefing Schedule for Defendants’ Rule 12(b)(6) Motion to
 4
     Dismiss Complaint. See L. Civ. R. 7(i)(2)(C).
 5
           The parties jointly represent there is good cause to grant their request for an
 6
     expedited hearing date. Defendants’ Rule 12(b)(6) Motion to Dismiss Complaint is
 7

 8   noted for hearing with oral argument on May 24, 2023. See Dkt. 9. The parties wish

 9   to have additional time to thoroughly brief the issues raised by the Motion to Dismiss
10   and therefore jointly request a three-week extension of each of the current briefing
11
     deadlines. This requested extension would not alter any existing Court deadlines. If
12
     the parties’ Stipulated Motion to Extend Briefing Schedule cannot be heard sooner
13
     than February 23, 2023, the parties’ requested relief would be moot, as Plaintiffs’
14
15   response to the Motion to Dismiss is due March 6, 2023.

16         Accordingly, the Court should enter an order expediting the hearing date to

17   February 23, 2023, on the Stipulated Motion to Extend Briefing Schedule for
18   Defendants’ Rule 12(b)(6) Motion to Dismiss Complaint.
19
           DATED this 16th day of February, 2023.
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     STIPULATED MOTION TO EXPEDITE HEARING DATE
     ON STIPULATED MOTION TO EXTEND BRIEFING                          Davis Wright Tremaine LLP
                                                                               L AW O FFICE S
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                                                                           Seattle, WA 98104-1610
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     Case 2:22-cv-00272-TOR     ECF No. 14   filed 02/16/23   PageID.471 Page 3 of 4




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11
12
13

14                                      ORDER
15
          Pursuant to stipulation, IT IS SO ORDERED.
16
          DATED this ______ day of ___________________, 2023.
17
18
19

20                                           THOMAS O. RICE
                                             United States District Judge
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22

23
     STIPULATED MOTION TO EXPEDITE HEARING DATE
     ON STIPULATED MOTION TO EXTEND BRIEFING                        Davis Wright Tremaine LLP
                                                                             L AW O FFICE S
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     Case 2:22-cv-00272-TOR       ECF No. 14    filed 02/16/23   PageID.472 Page 4 of 4




 1                               CERTIFICATE OF SERVICE

 2         I hereby certify that on February 16, 2023, I caused the document to which
     this certificate is attached to be electronically filed with the Clerk of the Court
 3
     using the CM/ECF system which will send notification of such filing to the
 4
     following:
 5
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13

14         I declare under penalty of perjury that the foregoing is true and accurate.

15         DATED this 16th day of February, 2023.

16
                                          By: s/ Ambika Kumar
17                                             Ambika Kumar, WSBA #38237

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19

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23
     STIPULATED MOTION TO EXPEDITE HEARING DATE
     ON STIPULATED MOTION TO EXTEND BRIEFING                            Davis Wright Tremaine LLP
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